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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 SECURITIES AND EXCHANGE
 COMMISSION,                                                  COMPLAINT

                             Plaintiff,                       20 Civ. _____ (     )
                 -against-
                                                              JURY TRIAL DEMANDED
 MATTHEW BENJAMIN and
 CLEAR SOLUTIONS GROUP, LLC,

                             Defendants.



         Plaintiff Securities and Exchange Commission (“Commission”), Brookfield Place, 200

Vesey Street, Suite 400, New York, New York 10281, alleges as follows for its Complaint

against Defendants Matthew Benjamin (“Benjamin”) and Clear Solutions Group, LLC (“Clear

Solutions”) (collectively, “Defendants”), whose names and last known addresses are set forth

below:

         a. Matthew Benjamin—Prospect Terrace, Tenafly, New Jersey 07670; and

         b. Clear Solutions Group, LLC—Prospect Terrace, Tenafly, New Jersey 07670.
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                                SUMMARY OF ALLEGATIONS

       1.      Between 2017 and 2019, Benjamin and his company, Clear Solutions, a purported

cosmetics reseller, defrauded investors of more than $900,000 by soliciting and selling securities

using false and misleading statements.

       2.      To carry out the scheme, Benjamin falsely told investors that Clear Solutions was

able to purchase cosmetics at wholesale prices and profitably resell them at a mark-up to a

retailer. In truth, Benjamin and Clear Solutions did not conduct any such business. Moreover,

Benjamin did not use investor funds as he represented; instead he misappropriated investor

money for his own personal benefit.

       3.      Benjamin’s scheme unraveled in late August 2019, and thereafter he confessed to

investors that his purported business was a sham.

                                          VIOLATIONS

       4.      By virtue of the foregoing conduct and as alleged further herein, Defendants

Benjamin and Clear Solutions have violated Section 17(a) of the Securities Act of 1933

(“Securities Act”) [15 U.S.C. § 77q(a)], Section 10(b) of the Securities Exchange Act of 1934

(“Exchange Act”) [15 U.S.C. § 78j(b)], and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5].

       5.      Unless Defendants are restrained and enjoined, they will engage in the acts,

practices, transactions, and courses of business set forth in this Complaint or in acts, practices,

transactions, and courses of business of similar type and object.

                NATURE OF THE PROCEEDINGS AND RELIEF SOUGHT

       6.      The Commission brings this action pursuant to the authority conferred upon it by

Securities Act Sections 20(b) and 20(d) [15 U.S.C. §§ 77t(b) and 77t(d)], and Exchange Act

Section 21(d) [15 U.S.C. § 78u(d)].




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       7.      The Commission seeks a final judgment: (a) permanently enjoining Defendants

from violating the federal securities laws and rules this Complaint alleges they have violated;

(b) ordering Defendants to disgorge all ill-gotten gains they received as a result of the violations

alleged here and to pay prejudgment interest thereon; and (c) ordering Defendants to pay civil

money penalties pursuant to Securities Act Section 20(d) [15 U.S.C. § 77t(d)], and Exchange Act

Section 21(d)(3) [15 U.S.C. § 78u(d)(3)].

                                 JURISDICTION AND VENUE

       8.      This Court has jurisdiction over this action pursuant to Securities Act Section

22(a) [15 U.S.C. § 77v(a)], and Exchange Act Section 27 [15 U.S.C. § 78aa].

       9.      Defendants, directly and indirectly, have made use of the means or

instrumentalities of interstate commerce or of the mails in connection with the transactions, acts,

practices, and courses of business alleged herein.

       10.     Venue lies in this District under Securities Act Section 22(a) [15 U.S.C. § 77v(a)],

and Exchange Act Section 27 [15 U.S.C. § 78aa]. Defendants may be found in, are inhabitants

of, or transact business in the District of New Jersey, and certain of the acts, practices,

transactions, and courses of business alleged in this Complaint occurred within this District

including Benjamin’s solicitation of investors.

                                          DEFENDANTS

       11.     Benjamin, age 53, is a resident of Tenafly, New Jersey. He is the principal of

Clear Solutions. Benjamin has a background in cosmetics sales arising from his family’s

business activities.

       12.     Clear Solutions is a purported clothing and cosmetics company located in

Tenafly, New Jersey.




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                                         OTHER ENTITIES

         13.    Manufacturer is a multinational cosmetics manufacturer of brand-name

products.

         14.    Closeout Retailer is a close-out retailer operating numerous stores in New Jersey

and other neighboring states.

                                              FACTS

I.       BACKGROUND TO THE SCHEME

         15.    Beginning in mid-2017 Benjamin began to solicit investments in Clear Solutions

by telling investors that the company had agreements to purchase cosmetics at wholesale prices

for resale to a retailer at a mark-up.

         16.    Benjamin offered investors a series of promissory notes, which promised

investors the return of their principal plus some interest and/or a portion of the profits generated.

Benjamin led investors to believe the interest component of the note would be significant.

         17.    For example, one of the notes, with Investor A, provided for a four-month loan of

$76,500 with 15% interest. Another note, with Investor B, included as investor compensation “a

50% equity ‘kicker’, in the form of a warrant to purchase 50% of the LLC interest in Clear

Solutions Group.”1

         18.    To the extent Benjamin made payments to investors, the funds generally were

simply a return of investors’ principal.




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       Benjamin appears to have tailored this equity offer to Investor B, because the investor
had entered into several prior deals with Benjamin in which the investor similarly received a
percentage of the purported profits from cosmetic sales.

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II.    BENJAMIN SOLICITS INVESTORS WITH FALSE STATEMENTS

       19.     As described in more detail below, when soliciting investors, Benjamin said he

was in the business of purchasing and reselling clothing and/or cosmetics. This was false.

Benjamin had no business purchasing and reselling products.

       20.     Benjamin falsely told investors that Clear Solutions was in the business of

purchasing clothing and/or cosmetics at wholesale prices, and then profitably reselling those

products at retail. While Benjamin’s misrepresentations varied slightly among investors, they

generally followed this pattern.

       21.     For example, in or around March 2018, Benjamin told Investor C that he would

use the investment money to purchase products from Manufacturer and then resell those products

to Closeout Retailer. Indeed, in an effort to authenticate his fraudulent scheme, Benjamin

showed Investor C certain “invoices” purporting to be sales of tweezers, nail clippers and

mascara to Closeout Retailer.

       22.     These representations were false and the invoices were fabricated. First, Clear

Solutions did not engage in the transactions Benjamin described. Specifically, neither

Manufacturer nor Closeout Retailer had ever done business with Benjamin, nor were there any

arrangements for future business. Moreover, Benjamin simply fabricated the invoices that he

showed to Investor C.

       23.     Nor did Benjamin use investor funds as he promised he would. Instead, Benjamin

misappropriated investor funds to pay for, among other things, personal vacations and legal

expenses for a family member.

III.   BENJAMIN’S SCHEME UNRAVELS

       24.     By August 2019, when Benjamin ran out of money and had no new investors, he




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began admitting to investors in separate conversations that he had defrauded them.

       25.    First, on or about August 27, 2019, Benjamin admitted to Investor C that he had

not made any purchases or entered into any deals with Closeout Retailer. Rather, Benjamin

explained that he used the investor’s money to “get himself [Benjamin] out of trouble” because

he owed money to others. As Benjamin confessed: “I took your money and used it for

something else.”

       26.    Second in or about September 2019, Benjamin stated to Investor D that he

perpetrated his fraud because he needed the money to pay for his son’s legal expenses.

       27.    Third, on or about September 9, 2019, Benjamin wrote an email to Investor A

stating that he was “not being honest” and that he had “no excuses” for his misconduct.

       28.    Starting in late August 2019, and continuing through October 2019, in an effort to

avoid having investors report him to law enforcement, Benjamin made payments to certain

investors from Clear Solutions’ bank account.

       29.    Once Clear Solutions had no more funds, Benjamin continued to make small

payments to investors from his own personal funds.

       30.    In total, Benjamin defrauded multiple investors out of more than $900,000.

                                FIRST CLAIM FOR RELIEF
                           Violations of Securities Act Section 17(a)
                                      (Both Defendants)

       31.    The Commission re-alleges and incorporates by reference here the allegations in

paragraphs 1 through 30.

       32.    Defendants, directly or indirectly, singly or in concert, in the offer or sale of

securities and by the use of the means or instruments of transportation or communication in

interstate commerce or the mails, (1) knowingly or recklessly have employed one or more




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devices, schemes or artifices to defraud, (2) knowingly, recklessly, or negligently have obtained

money or property by means of one or more untrue statements of a material fact or omissions of

a material fact necessary in order to make the statements made, in light of the circumstances

under which they were made, not misleading, and/or (3) knowingly, recklessly, or negligently

have engaged in one or more transactions, practices, or courses of business which operated or

would operate as a fraud or deceit upon the purchaser.

       33.     By reason of the foregoing, Defendants, directly or indirectly, singly or in concert,

have violated and, unless enjoined, will again violate Securities Act Section 17(a) [15 U.S.C.

§ 77q(a)].

                               SECOND CLAIM FOR RELIEF
             Violations of Exchange Act Section 10(b) and Rule 10b-5 Thereunder
                                     (Both Defendants)

       34.     The Commission re-alleges and incorporates by reference here the allegations in

paragraphs 1 through 30.

       35.     Defendants, directly or indirectly, singly or in concert, in connection with the

purchase or sale of securities and by the use of means or instrumentalities of interstate

commerce, or the mails, or the facilities of a national securities exchange, knowingly or

recklessly have (i) employed one or more devices, schemes, or artifices to defraud, (ii) made one

or more untrue statements of a material fact or omitted to state one or more material facts

necessary in order to make the statements made, in light of the circumstances under which they

were made, not misleading, and/or (iii) engaged in one or more acts, practices, or courses of

business which operated or would operate as a fraud or deceit upon other persons.

       36.     By reason of the foregoing, Defendants, directly or indirectly, singly or in concert,

have violated and, unless enjoined, will again violate Exchange Act Section 10(b) [15 U.S.C.




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§ 78j(b)] and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5].

                                    PRAYER FOR RELIEF

       WHEREFORE, the Commission respectfully requests that the Court enter a Final

Judgment:

                                                 I.

       Permanently enjoining Benjamin and his agents, servants, employees and attorneys and

all persons in active concert or participation with any of them from violating, directly or

indirectly, Securities Act Section 17(a) [15 U.S.C. § 77q(a)], Exchange Act Section 10(b) [15

U.S.C. § 78j(b)], and Rule 10b-5(b) thereunder [17 C.F.R. § 240.10b-5(b)].

                                                 II.

       Permanently enjoining Clear Solutions and its agents, servants, employees and attorneys

and all persons in active concert or participation with any of them from violating, directly or

indirectly, Securities Act Section 17(a) [15 U.S.C. § 77q(a)], Exchange Act Section 10(b) [15

U.S.C. § 78j(b)], and Rule 10b-5(b) thereunder [17 C.F.R. § 240.10b-5(b)];

                                                III.

       Ordering Defendants to disgorge all ill-gotten gains they received directly or indirectly,

with pre-judgment interest thereon, as a result of the alleged violations;

                                                IV.

       Ordering Defendants to pay civil monetary penalties under Securities Act Section 20(d)

[15 U.S.C. § 77t(d)] and Exchange Act Section 21(d)(3) [15 U.S.C. § 78u(d)(3)]; and




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                                             V.

      Granting any other and further relief this Court may deem just and proper.


Dated: New York, New York
       July 1, 2020
                                   Marc P. Berger
                                   ____________________________________
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                                   REGIONAL DIRECTOR
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                                   Gerald A. Gross*
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                            * Not admitted in District of New Jersey




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                               LOCAL RULE 11.2 CERTIFICATION

       Pursuant to Local Rule 11.2, I certify that the matter in controversy alleged against the

Defendants in the foregoing Complaint is not the subject of any other civil action pending in any

court, or of any pending arbitration or administrative proceeding.



                                      Marc P. Berger
                                      ____________________________________
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                             DESIGNATION OF AGENT FOR SERVICE

       Pursuant to Local Rule 101.1(f), the undersigned hereby designates the United States

Attorney’s Office for the District of New Jersey to receive service of all notices or papers in this

action at the following address:

               David E. Dauenheimer
               United States Attorney’s Office
               Deputy Chief, Government Fraud Unit
               District of New Jersey
               970 Broad Street, Suite 700
               Newark, NJ 07102

                                      SECURITIES AND EXCHANGE COMMISSION


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                                      ____________________________________
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